Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 1 of 31 PageID #: 451




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA

                          CASE NO.: 1:24-cv-00779-JPH-MKK

  MAX MINDS, LLC,

                     Plaintiff,
  v.

  TRIANGLE EXPERIENCE GROUP, INC.,
  ROBERT EDWARD CLARE, JEFFREY
  MASE, KEVIN G MULLICAN AND JOHN
  DOES 1-10,

                     Defendants.


       MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS




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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 2 of 31 PageID #: 452




                                                        TABLE OF CONTENTS
 I.         INTRODUCTION ...............................................................................................................2
 II.        ALLEGATIONS OF THE COMPLAINT AGAINST TEG .................................................3
       A. The Complaint is Extensive, Detailed and Sufficiently and Plausibly States Claims for
       Misappropriation of Trade Secrets, Trademark Violations, Copyright Infringement and
       Copyright Violations against TEG and individuals Clare, Mace, Mullican and unidentifed
       TEG employees named as John Does. .....................................................................................3
            1.      Plaintiff’s Intellectual Property Rights .........................................................................4
            2.      MAX’s Copyrights in the Haptic Software...................................................................4
            3.      MAX’s Trade Secrets in Haptic ...................................................................................5
            4.      Defendants’ Use, Misuse, and Misappropriation of MAX’s Intellectual Property .........6
 III.            ARGUMENT ................................................................................................................ 11
       A.        Legal Standard............................................................................................................... 11
       B. The Complaint Sufficiently and Plausibly States Claims for Violation of the Defend
       Trade Secrets Act and Indiana Uniform Trade Secrets Act .................................................... 12
       C. The Complaint Sufficiently and Plausibly States Claims for Copyright Infringement
       against TEG .......................................................................................................................... 14
       D. The Complaint Sufficiently and Plausibly States Claims for Circumvention against TEG
       in Violation of 17 U.S.C. § 1201. .......................................................................................... 17
       E. The Complaint Sufficiently and Plausibly States Claims for Removal or Falsification of
       Copyright Management information against TEG in Violation of 17 U.S.C. § 1202. ............. 20
       F. The Complaint Sufficiently and Plausibly States a Claim for Reverse Passing Off against
       TEG in violation of 15 U.S.C. § 1125(a) ............................................................................... 21
       G. The John Doe Defendants are TEG Employees Who Have Not Been Identified and Who
       Are Individually Liable for Infringement of Max’s Intellectual Property Rights and When they
       are Identified they Will be Named and Served ....................................................................... 23
       H. Neither Rule 13 nor the JVA Provide a Basis to Stay these Proceedings Against TEG for
       Violations of Max’s Intellectual Property Rights ................................................................... 25
 IV.             CONCLUSION ............................................................................................................. 26




                                                                       ii
                                                                   SRIPLAW
                       CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 3 of 31 PageID #: 453




                                               TABLE OF AUTHORITES


 Cases                                                                                                                     Page(s)


 Hostway Corp. v. JPMorgan Chase Bank ................................................................................ 25
    2009 U.S. Dist. LEXIS 75049 (N.D. Ill. Aug. 24, 2009)
 Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith,
   598 U.S. 508 (2023) ........................................................................................................... 17
 Archibald & Kendall, Inc.,
    573 F.2d 429 (7th Cir. 1978) .............................................................................................. 11
 Arista Records Ltd. Liab. Co. v. Doe,
    604 F.3d 110 (2d Cir. 2010) ............................................................................................... 23
 Chamberlain Group v. Skylink Technologies, Inc.,
   381 F.3d 1178 (Fed. Cir. 2004) .......................................................................................... 18
 Cushing v. City of Chicago,
   3 F.3d 1156 (7th Cir. 1993) ................................................................................................ 11
 Dangler v. Imperial Mach. Co.,
   11 F.2d 945 (7th Cir. 1926) ................................................................................................ 24
 Dastar Corp. v. Twentieth Century Fox Film Corp.,
   539 U.S. 23 (2003) ............................................................................................................. 22
 Design Basics v. Van Prooyen Builders, Inc., No. 2:19CV100-PPS/SLC,
   2021 U.S. Dist. LEXIS 41425 (N.D. Ind. Mar. 5, 2021) ..................................................... 20
 Diamond Sawblades Mfrs. Coal. v. Diamond Tools Tech.,
    504 F. Supp. 3d 927 (S.D. Ind. 2020) ................................................................................. 21
 Energy Intelligence Grp. v. Exelon Generation Co., No. 20-cv-3983,
    2021 U.S. Dist. LEXIS 76688 (N.D. Ill. Apr. 21, 2021) ................................................ 11,12
 Euromarket Designs, Inc. v. Crate & Barrel Ltd.,
    96 F. Supp. 2d 824 (N.D. Ill. 2000) .................................................................................... 23
 Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,
    499 U.S. 340 (1991) ........................................................................................................... 14
 Haggerty Enterprises, Inc. v. Lipan Indus. Co., No. 00 C 766,
   2001 WL 968592 (N.D. Ill. Aug. 23, 2001) ........................................................................ 23
 Hotels Meridien v. LaSalle Hotel Operating Partnership, LP,
   380 F.3d 126 (2d Cir. 2004) ............................................................................................... 22
 Hull v. Bd.of Trs. of Univ. of Ill. at Chi., No. 98 C 6199,
   2001 U.S. Dist. LEXIS 9905 (N.D. Ill. July 16, 2001) ........................................................ 11
 I.A.E., Inc. v. Shaver,
                                                              iii
                                                           SRIPLAW
                 CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 4 of 31 PageID #: 454



     74 F.3d 768 (7th Cir. 1996) ................................................................................................ 16
 JCW Invs., Inc. v. Novelty, Inc.,
   482 F.3d 910 (7th Cir. 2007) .............................................................................................. 14
 Kay Bros. Enters. v. Parente, No. 16 C 387,
   2018 U.S. Dist. LEXIS 128191 (N.D. Ill. July 31, 2018) .................................................... 11
 Leo Feist v. Young,
    138 F.2d 972, 59 USPQ 450 (7th Cir. 1943) ....................................................................... 23
 Lovellette v. Southern R. Co.,
    898 F.2d 1286 (7th Cir. 1990) ............................................................................................ 11
 M. Arthur Gensler Jr. & Assocs. v. Strabala,
    764 F.3d 735 (7th Cir. 2014) .............................................................................................. 22
 Med. Informatics Eng'g, Inc. v. Orthopaedics Ne., P.C.,
   458 F. Supp. 2d 716 (N.D. Ind. 2006) ................................................................................ 23
 Muhammad-Ali v. Final Call, Inc.,
   832 F.3d 755 (7th Cir. 2016) .............................................................................................. 16
 Phoenix Entm't, LLC v. Rumsey,
   829 F.3d 817 (7th Cir. 2016) .............................................................................................. 22
 Precision Universal Joint Corp. v. Republic Gear Co., No. 75 C 2942,
    1976 U.S. Dist. LEXIS 15452 (N.D. Ill. Apr. 22, 1976) ..................................................... 23
 Propertythree Tech. Grp. v. Apartment Hunters, No. 1:07-cv-356-RLY-JMS,
    2008 U.S. Dist. LEXIS 136027 (S.D. Ind. May 19, 2008) .................................................. 20
 Rodriguez v. Plymouth Ambulance Service,
   577 F.3d 816 (7th Cir. 2009) .............................................................................................. 23
 Roth v. Walsh Co., No. 18-CV-1431,
    2019 U.S. Dist. LEXIS 11439 (E.D. Wis. Jan. 24, 2019) .................................................... 21
 Sadowski v. Miss. Valley Broads., LLC, No. 18-cv-946-jdp,
    2019 U.S. Dist. LEXIS 37920 (W.D. Wis. Jan. 11, 2019) ................................................... 21

 Statutes

 15 U.S.C. § 1125(a)............................................................................................................. 21,22

 17 U.S.C. § 106.................................................................................................................. 18, 22

 17 U.S.C. § 201(a) .............................................................................................................. 15,16

 17 U.S.C. § 204(a). .................................................................................................................. 16

 17 U.S.C. § 1201 ...................................................................................................................... 18

 17 U.S.C. § 1202 .......................................................................................................... 20, 22, 24
 17 U.S.C. §1202(b)(1) ............................................................................................................. 20
                                                                iv
                                                             SRIPLAW
                  CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 5 of 31 PageID #: 455



 17 U.S.C. §1202(b)(3) ............................................................................................................. 20

 18 U.S.C. § 1836 ..................................................................................................................... 14

 18 U.S.C. § 1839(5) ................................................................................................................. 13

 18 U.S.C. §1839(5)(B)(ii)(II). .................................................................................................. 13

 Rules

 Rule 8 ..................................................................................................................................... 16

 Rule 12(b)(6) ........................................................................................................................... 11




                                                                   v
                                                               SRIPLAW
                  CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 6 of 31 PageID #: 456




         MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS

        Plaintiff MAX MINDS, LLC by and through its undersigned counsel, and for its

 Memorandum of Law in opposition to the Motion to Dismiss Plaintiff Max Minds, LLC’s

 Complaint or in the alternative to Stay (ECF 52), states as follows:

                                     I.      INTRODUCTION

        The motion to dismiss is premised on a demonstrably false claim: that TEG has some sort

 of master license to Max’s software or some type of ownership interest in Max’s software. There

 is no support for this false claim. The complaint makes clear that TEG has no such rights. TEG’s

 attempt to argue that it can do whatever it wants with Max’s software including use and disclose

 the software to anyone, rewrite the software, sell the software without accounting to Max,

 commit copyright infringement, hack into the software, rename the software, pass the software

 off as TEG’s own creation instead of Max’s HAPTIC software, etc. is false and unsupportable.

        TEG’s reliance on the “joint venture agreement” (referring to the JVA attached to the

 complaint in this case) is futile. The statutory prohibitions on trade secret theft, copyright

 infringement and trademark infringement all contradict TEG’s fantastical theory of license. The

 JVA gives TEG no rights whatsoever to copy, distribute, or create derivative works of Max’s

 copyrighted software. The JVA gives TEG no rights to Max’s trade secret source code, or Max’s

 trademark HAPTIC. The JVA is not a license for Max’s software or source code. The word

 “license” appears only twice in the JVA; in neither place where the word “license” is used does

 TEG receive a license to any of Max’s software. There is no license grant in the JVA at all. The




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             CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 7 of 31 PageID #: 457




 JVA is an agreement to agree on a list of things that might happen in the future if the parties

 agreed to them and if certain things occurred, but those things never happened.1

        The claims in the complaint in this copyright dispute are pled sufficiently, plausibly and

 extensively. The complaint is nearly 200 paragraphs long supported by eleven exhibits. The

 motion to dismiss is really an invitation for this court to buy into TEG’s alternate narrative lock-

 stock-and-barrel. But the facts are not at issue on this motion. The pleading is and it is sufficient.

 Max will prove its facts are the correct narrative in discovery. TEG’s motion should be denied.

               II.     ALLEGATIONS OF THE COMPLAINT AGAINST TEG

        A.     The Complaint is Extensive, Detailed and Sufficiently and Plausibly States
        Claims for Misappropriation of Trade Secrets, Trademark Violations, Copyright
        Infringement and Copyright Violations against TEG and individuals Clare, Mace,
        Mullican and unidentified TEG employees named as John Does.

        The recitation of the facts in TEG’s motion is skewed. TEG argues over and over that the

 terms of the parties’ JVA somehow trumps all of Max’s intellectual property rights in its

 software. TEG seems not to understand that the IP rights TEG violated are Max’s property rights

 created by statute and not derived from a contract.




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   As explained below, there is a one sentence section called “Intellectual Property” in the JVA
 that TEG appears to hang its hat on. Under that provision, if TEG paid for “custom software
 development” (which it never did), and if that custom development created a new copyrightable
 work (which it did not), and if that new copyrightable work was determined by the parties under
 the JVA to be a joint work (which never happened), then TEG might own some intellectual
 property. But, again, this is all fantasy. None of those things ever happened.

 There is also a provision in the JVA that makes TEG “the exclusive distributor/reseller of the
 Haptic Federal product into the federal market.” But that statement alone is not a license. In fact,
 the JVA contemplates that Max—not TEG—would issue the licenses for Haptic. We know this
 because the JVA refers to “license based revenue targets” that TEG was required to meet. In
 other words, TEG would need to sell licenses and meet those targets. That is very different from
 TEG being an exclusive licensee—which they were not—with a right to do whatever they
 wanted to the software—which is what TEG wants this Court to believe. Don’t believe it. It’s
 false.
                                                 3
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 8 of 31 PageID #: 458




                1.      Plaintiff’s Intellectual Property Rights
        MAX is an Indiana custom software development company. (ECF 1 ¶ 11). MAX’s

 products are Alleo and Haptic Federal. (ECF 1 ¶ 20). Alleo and Haptic Federal are interactive,

 digital collaboration presentation, and productivity solutions for integrated teams worldwide.

 (ECF 1 ¶¶ 20-22). MAX’s software is used in briefing centers, experience centers, and

 innovation centers by the government, and by Fortune 100 companies in consulting,

 telecommunications, IT, pharma, and manufacturing. (ECF 1 ¶ 25). Originally called Haptic, the

 software was recently rebranded as “Alleo” for commercial users; the Haptic name remains for

 government users. (ECF 1 ¶ 24). Alleo/Haptic is a server-based collaborative workspace that

 utilizes a browser interface. The software resides on a server on the internet (a “cloud” server)

 and customers access the software using an internet browser. (ECF 1 ¶ 26).

                2.      MAX’s Copyrights in the Haptic Software
        Alleo/Haptic is an original, creative software program written in several different

 programming languages. (ECF 1 ¶ 30). MAX registered four versions of Haptic with the

 Copyright office and obtained registration certificates for each version. The following table

 details MAX’s copyright registrations for Haptic. (ECF 1 ¶¶ 39-42).

  Title of Work                Registration       Effective Date      Certificate of Registration
                               Number
  Haptic Version 1.2.21.1      TXu 2-425-362      April 19, 2024      Complaint, Ex. 1
  Haptic Version 1.2.125       TXu 2-421-490      April 2, 2024       Complaint, Ex. 2
  Haptic Version 3.1.21.4      TXu 2-419-714      March 21, 2024      Complaint, Ex. 3
  Haptic Version 3.1.21.8      TXu 2-419-718      March 21, 2024      Complaint, Ex. 4

        All Haptic Federal software is protected by technological measures that effectively

 control access to the software. In the ordinary course of the software’s operation, the measures

 require the application of information, or a process or a treatment, with the authority of MAX, to

                                                  4
                                              SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 9 of 31 PageID #: 459




 gain access to the Work. (ECF 1 ¶ 43). One technological measure that MAX uses to protect

 Haptic Federal is a license key that is required to install the software. (ECF 1 ¶ 44).

          Max also applied copyright management information (“CMI”) to the Haptic Federal

 software. (ECF 1 ¶ 45). The copyright management information MAX applied to the Haptic

 Federal Software consisted of the Haptic name, which is title, author and identifying information

 for the title and author of Haptic Federal, MAX. (ECF 1 ¶ 46).

                 3.      MAX’s Trade Secrets in Haptic
          The Haptic Federal software source code was written by MAX employees and developers

 under contract to MAX. (ECF 1 ¶ 47). All employees and developers working for MAX are

 contractually bound to maintain the confidentiality of the software they develop for the company.

 (Id.).

          The source code for the Haptic Federal software is a compilation, program, and code,

 which derives independent economic value from not being generally known to, and not being

 readily ascertainable by proper means by, other persons who can obtain economic value from its

 disclosure or use and is the subject of efforts that are reasonable under the circumstances to

 maintain its secrecy. (ECF 1 ¶ 48). The Haptic Federal source code is never distributed to end

 users in source code format. Instead, the source code is compiled into executable, binary or web

 format executable code in such a fashion as to obscure the underlying trade secrets contained

 within the code. (ECF 1 ¶ 49).

          When Haptic Federal is licensed to end users it is always pursuant to restrictions

 contained in an End User License Agreement (EULA). (ECF 1 ¶ 50). Pursuant to the EULA,

 users of the Haptic Federal software agree not to “directly or indirectly (i) sell, rent out, lease,

 license, distribute, market, exploit the Product or any of its parts commercially, (ii) reverse

 engineer, decompile, disassemble, adapt, reproduce, or create derivative works of this Product,”

                                                  5
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 10 of 31 PageID #: 460




 “(iii) create, use and/or distribute “auto”, “trainer”, “script” or “macro” computer programs or

 other “cheat” or “hack” programs or software applications for this Product (whether over the

 internet or in local area network); (iv) remove, alter, disable or circumvent any copyright and

 trademark indications or other authorship and origin information, notices or labels contained on

 or within this Product and (v) export or re-export this Product or any copy of adaptation in

 violation of any applicable laws or regulations.” (ECF 1 ¶ 52).

        Pursuant to the EULA, users of the Haptic Federal software also agree: (1) that MAX

 retains and owns all intellectual property rights in the Haptic Federal software; (2) to comply

 with all applicable laws, rules and regulations applicable to the software; (3) not to “create, use,

 share and/or publish by any means in relation to the Product any material (text, words, images,

 sounds, videos, etc.) which would breach a duty of confidentiality, infringe any intellectual

 property right or an individual’s right to privacy or which would incite the committing of an

 unlawful act (in particular, piracy, cracking or circulation of counterfeit software)”; (4) not to

 “create, supply or use alternative methods of using the Products, for example server emulators”;

 and (5) not to “modify, distort, block, abnormally burden, disrupt, slow down and/or hinder the

 normal functioning of all or part of the Product, or their accessibility to other users, or the

 functioning of the partner networks of the Product, or attempt to do any of the above.” (ECF 1 ¶¶

 53-57; EULA, ECF 1-5).

                4.    Defendants’ Use, Misuse, and Misappropriation of MAX’s Intellectual
                Property
        MAX first demonstrated the Haptic software to TEG in July of 2019 at the U.S.

 Government Joint Staff Lab in Norfolk Virginia. (ECF 1 ¶ 70). Before the demonstration MAX

 and TEG entered into a mutual Non-Disclosure Agreement. (ECF 1 ¶ 71; ECF 1-7).

        Following the demonstration, MAX and TEG began working together. (ECF 1 ¶ 75).


                                                  6
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 11 of 31 PageID #: 461




 MAX provided TEG’s CEO Rob Clare and COO Jeff Mase with Haptic Federal user accounts.

 (Id.). To use the Haptic Federal software, Clare and Mase agreed to the Haptic EULA. (ECF 1 ¶

 78). These user accounts allowed TEG to access and demonstrate the capabilities of Haptic

 Federal to TEG customers. (ECF 1 ¶ 77).

        Impressed with Haptic Federal’s capabilities, TEG contacted MAX inquiring whether

 TEG could become an authorized reseller of Haptic Federal to the US government. (ECF 1 ¶ 79).

 The parties discussed that TEG would create a distribution channel to license Haptic Federal to

 customers in the federal government. (ECF 1 ¶ 82). Thereafter, the parties entered into the JVA

 attached to the complaint. (ECF 1-9). The JVA provides that MAX (not TEG) would create and

 maintain a branch of the Haptic source code for exclusive use by the US government, and that

 TEG would be the exclusive distributor of Haptic Federal to the US government so long as TEG

 hit certain licensing goals and shared half the revenue with MAX.” (ECF 1 ¶¶ 83-84; ECF 1-9).

 The JVA did not license any of Max’s software to TEG, nor did it give TEG ownership rights in

 the Haptic Federal software.

        Pursuant to the JVA, beginning in June 2020 MAX made the source code securely

 available to TEG over a dozen times to allow their government customer(s) to scan for

 vulnerabilities and security issues. so long as TEG hit certain licensing goals and shared half the

 revenue with MAX. (ECF 1 ¶ 96). However, the source code was not released to TEG at that

 time. Instead, first the parties agreed to the significant restrictions contained in a Source Code

 License Agreement dated March 30, 2021 (“SCLA”). (ECF 1 ¶ 62; ECF 1-6). The SCLA

 contains an extensive confidentiality agreement in which TEG acknowledged and agreed that

 Haptic Federal Source Code and the Documentation for the Haptic Federal Source Code was

 “confidential intellectual property (including trade secrets)” of MAX and that TEG would


                                                 7
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 12 of 31 PageID #: 462




 maintain and not disclose any Confidential Information. (ECF 1 ¶ 67).

        Pursuant to the SCLA, security measures were required to be followed every time source

 code was transferred by Max to TEG. (ECF 1-6). One security measure was that TEG was

 required to provide MAX with a “chain of custody” document with signatures from everyone

 who accessed the source code stating that each person witnessed destruction of the source code

 after the scan. (ECF 1 ¶ 97). In the Summer of 2023, TEG failed to provide chain of custody

 documentation multiple times as required in order to protect MAX’s trade secret source code

 from unauthorized disclosure. (ECF 1 ¶ 99). As a result, on August 17, 2023, MAX and TEG

 entered into a Certification Agreement (“CA”). (ECF 1 ¶ 100; ECF 1-10). The agreement was

 intended to formalize confidentiality safeguards for Haptic Federal. (Id.).

        The Certification Agreement recites that “the Parties wish to maintain the source code for

 Haptic Federal software platform (“Source Code”) confidential and to preserve its value as a

 trade secret, and therefore wish to limit disclosure of the Source Code.” (ECF 1 ¶ 101). TEG

 acknowledged in the Certification that TEG was under a duty to maintain as confidential the

 Haptic Federal source code and that the Haptic Federal source code was to be used only by the

 customer to complete required security scans, which were to be accompanied by a chain of

 custody form. (ECF 1 ¶ 102).

        After the parties entered into the Certification Agreement, MAX discovered TEG in

 violation of the Certification Agreement numerous times. On September 13, 2023 and September

 22, 2023, MAX engaged in source code transfers (versions 3.1.21.8 and 3.1.21.9) to TEG. (ECF

 1 ¶ 111). With respect to each transfer, TEG (1) retained the source code; (2) withheld the

 government scan report; (3) withheld Chain of Custody documents; and (4) failed to obtain

 signatures from everyone who touched the Haptic Federal source code. (ECF 1 ¶ 112). MAX


                                                 8
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 13 of 31 PageID #: 463




 asked TEG at least twenty times to remedy these issues, but TEG stalled and eventually stopped

 responding to MAX in December 2023. (ECF 1 ¶ 113).

        In February 2024 while searching the internet MAX discovered that the defendants

 installed Haptic Federal on internet facing servers accessible on at least three (3) uniform

 resource locators (URL). (ECF 1 ¶ 103). In each instance discovered by MAX, TEG removed the

 Haptic CMI from the Haptic Federal software and replaced the Haptic CMI with false CMI

 indicating that the software was TEG’s software by using the terms “VJOC” and “C4MAP.”

 (ECF 1 ¶ 104). At each URL the servers hosting the Haptic Federal software exposed source

 code maps and source code to the public. (ECF 1 ¶ 105). The exposure of MAX’s Haptic Federal

 source code exposed MAX’s trade secrets to the public. (ECF 1 ¶ 106).

        TEG circumvented the technological measures in the Haptic Federal source code. (ECF 1

 ¶ 115). TEG made at least $5 million of undisclosed software/service sales of Haptic Federal or

 trials in Haptic Federal in 2023. (ECF 1 ¶ 116). In each case of a sale, TEG required a license

 key to install Haptic Federal; MAX never provided license keys for these sales. (ECF 1 ¶¶ 117-

 118). To get around the licensing key requirement, TEG modified the Haptic Federal source code

 by stripping out or modifying the licensing logic from the source code to circumvent the

 licensing key requirement. (ECF 1 ¶ 119). TEG also back-dated computers to circumvent

 MAX’s licensing policy for Haptic Federal. (ECF 1 ¶ 177). TEG did not request or receive

 permission or authority to strip out or modify the licensing logic from the source code or back-

 date computers to circumvent the licensing key technological measure. (ECF 1 ¶ 120).

        In 2020 and 2021, MAX discovered that TEG exceeded software licenses by providing

 “free” extended trials. (ECF 1 ¶ 121). MAX was required to authorize each free trial of Haptic

 Federal software that TEG provided to a customer in advance of installation. (ECF 1 ¶ 122). In


                                                 9
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 14 of 31 PageID #: 464




 mid-2021, MAX discovered at least a dozen trials that TEG had extended to customers without

 MAX’s authorization. (ECF 1 ¶ 123). In response, TEG told MAX these were free trials; TEG’s

 claim of free trials is false because TEG was paid to install and support the trial installations of

 Haptic Federal. (ECF 1 ¶ 124).

        TEG provided unauthorized trials to customers by exceeding the scope of the two

 software licenses granted to TEG pursuant to the JVA. (ECF 1 ¶ 125). TEG made unauthorized

 copies and distributed those unauthorized copies of Haptic Federal to third parties for live events

 and live exercises for which TEG received compensation. (ECF 1 ¶ 126). TEG exceeded the

 scope of software licenses purchased from MAX by copying and distributing Haptic Federal

 numerous times without MAX’s authorization. (ECF 1 ¶ 127).

        Without notice to MAX or permission from MAX, TEG removed “Haptic” from the main

 page of Haptic Federal and changed the name of Haptic Federal to “C4MAP” when it

 demonstrated Haptic Federal to certain government customers. (ECF 1 ¶ 129). Similarly,

 without notice to MAX or permission from MAX, TEG removed “Haptic” from the main page of

 Haptic Federal and changed the name of Haptic Federal to “VJOC,” an abbreviation for Virtual

 Joint Operations Center, to other government customers. (ECF 1 ¶ 130). TEG removed the

 Haptic name from the Haptic Federal software without MAX’s knowledge, agreement or

 authorization. (ECF 1 ¶ 131). TEG committed such acts knowing removing the Haptic name

 would conceal the true facts concerning ownership of the Haptic Federal software from others,

 including TEG’s government customers. (ECF 1 ¶ 186). TEG and the individual defendants

 intended to conceal the true facts concerning ownership of the Haptic Federal software from

 others, including TEG’s government customers. (ECF 1 ¶ 180).




                                                 10
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             CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 15 of 31 PageID #: 465




                                       III.    ARGUMENT

        A.      Legal Standard

        The motion recites the legal standard for a motion to dismiss under Rule 12(b)(6)

 correctly. However, the standard for dismissal based on an affirmative defense—such as the

 affirmative defense of license which pervades the motion—is not nearly as low a standard as

 TEG would have this court believe.

        The burden of proving the existence of a license rests with the accused infringer. Kay

 Bros. Enters. v. Parente, No. 16 C 387, 2018 U.S. Dist. LEXIS 128191 (N.D. Ill. July 31, 2018).

 To successfully employ an affirmative defense, a defendant must establish “the elements of the

 defense by a preponderance of the evidence.” Hull v. Bd.of Trs. of Univ. of Ill. at Chi., No. 98 C

 6199, 2001 U.S. Dist. LEXIS 9905 (N.D. Ill. July 16, 2001).

        TEG filed a motion to dismiss under Rule 12(b)(6). “Where the pleadings raise a

 contested issue of material fact, a Rule 12(b)(6) motion must be denied.” Mitchell v, Archibald &

 Kendall, Inc., 573 F.2d 429, 432 (7th Cir. 1978); Cushing v. City of Chicago, 3 F.3d 1156, 1163

 (7th Cir. 1993) (holding that resolving issues of fact are “inappropriate for resolution in a motion

 to dismiss the complaint under Fed. R. Civ. P. 12(b)(6).”); Lovellette v. Southern R. Co., 898

 F.2d 1286, 1291 (7th Cir. 1990) (holding that determining issues of fact is “inappropriate for

 resolution in a FED. R. CIV. P. 12(b)(6) motion to dismiss the pleadings.”).

        Neither of the two cases TEG cited (ECF 52 at 6) are intellectual property infringement

 cases. Both are employment or civil rights cases. Neither case dealt with the affirmative defense

 of license. Where courts are presented with a dispute over whether a license provides a valid

 affirmative defense at the pleading stage to support dismissal they routinely demur because the

 issue whether the putative licensee had a valid license or exceeded the scope of the license is an

 intensive factual dispute unsuited for dismissal on the pleadings. See e.g. Energy Intelligence
                                                 11
                                              SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 16 of 31 PageID #: 466




 Grp. v. Exelon Generation Co., No. 20-cv-3983, 2021 U.S. Dist. LEXIS 76688 (N.D. Ill. Apr.

 21, 2021) (motion to dismiss denied where the putative licensee’s “argument regarding the

 license was not clear,” and the construction of the purported license “could be a question of

 fact,” so therefore “the determination of whether a license exists and its scope can involve factual

 disputes that are not appropriate for resolution on a motion to dismiss.”)

        B.    The Complaint Sufficiently and Plausibly States Claims for Violation of the
        Defend Trade Secrets Act and Indiana Uniform Trade Secrets Act

        TEG does not make the argument that the source code for Haptic Federal is not a trade

 secret. It obviously is and TEG wisely concedes this point. Instead, TEG argues TEG’s use or

 possession of Max’s source code was with Max’s consent. (See ECF 52 at 7, “Max’s Complaint

 does not allege—and cannot allege—that TEG acquired the Software by improper means

 because TEG obtained access to the Software as Max’s joint venturer under the JVA.” And

 “Max’s misappropriation claims thus hinge on whether Max has adequately alleged TEG’s actual

 or threatened disclosure or use of its trade secrets without its consent.”) TEG is wrong.

        The term “misappropriation” in the DTSA means:

        (A) acquisition of a trade secret of another by a person who knows or has reason
        to know that the trade secret was acquired by improper means; or
        (B) disclosure or use of a trade secret of another without express or implied
        consent by a person who—
        (i) used improper means to acquire knowledge of the trade secret;
        (ii) at the time of disclosure or use, knew or had reason to know that the
        knowledge of the trade secret was—
        (I) derived from or through a person who had used improper means to acquire the
        trade secret;
        (II) acquired under circumstances giving rise to a duty to maintain the secrecy of
        the trade secret or limit the use of the trade secret; or
        (III) derived from or through a person who owed a duty to the person seeking
        relief to maintain the secrecy of the trade secret or limit the use of the trade secret;
        or


                                                12
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 17 of 31 PageID #: 467




        (iii) before a material change of the position of the person, knew or had reason to
        know that—
        (I) the trade secret was a trade secret; and
        (II) knowledge of the trade secret had been acquired by accident or mistake;
 18 U.S.C. § 1839(5).

        The complaint alleges that at the time the defendants disclosed MAX’s source code and

 “[a]t the time of disclosure, Defendants knew or had reason to know that the Haptic Federal

 Source Code was a trade secret of MAX because TEG acquired the Haptic Federal Source Code

 under circumstances giving rise to a duty to maintain the secrecy of the trade secret or limit the

 use of the trade secret.” (ECF 1 ¶ 159). The allegation in Count I is consistent with the

 prohibition contained in §1839(5)(B)(ii)(II). The allegation is plausible because (1) Max refused

 to release its trade secret source code to TEG before the parties entered into the SCLA with its

 very significant restrictions; (2) the SCLA required TEG to follow extensive security measures

 every time Max made a source code transfer to TEG, including “chain of custody” documents

 with signatures from everyone who accessed the source code stating that each person witnessed

 destruction of the source code after the scan; (3) TEG failed to provide chain of custody

 documentation multiple times starting in the summer of 2023; (4) as a result of TEG’s failures

 MAX and TEG entered into the CA to formalize confidentiality safeguards for Max’s software

 and to preserve its value as a trade secret; and (5) even after entering into the SCLA and the CA,

 MAX discovered TEG committed numerous violations of the CA in September of 2023 when

 MAX engaged in source code transfers with TEG.

        TEG’s failure to limit the use or disclosure of MAX’s trade secrets is the focus of MAX’s

 claims. TEG’s contrary arguments miss the point. TEG says that “[u]nder the terms of the JVA,

 Max has not alleged and cannot allege facts sufficient to draw a reasonable inference that TEG

 acquired the Software by improper means or disclosed a trade secret without Max’s express or

                                                13
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 18 of 31 PageID #: 468




 implied consent.” (ECF 52 at 9). But the JVA does not cover what happens when TEG

 misappropriates Max’s trade secret source code. The Economic Espionage Act of 1996 as

 amended by the Defend Trade Secrets Act of 2016, 18 U.S.C. § 1836 (“DTSA”), and the IUTSA

 are the operative statutes that prohibit TEG’s misappropriation. TEG’s argument that its use of

 Max’s source code was “consensual” might offer TEG a defense, but the mere existence of the

 JVA does not ipso facto make TEG’s alleged conduct consensual.

        TEG argues that Max’s copyright infringement claim “fails under the plain terms of the

 JVA because, even accepting as true Max’s characterization of TEG as a mere licensee, Max has

 not and cannot allege that TEG’s alleged conduct was in breach of a condition precedent to the

 JVA.” (ECF 52 at 11). Again, TEG’s attempts to frame this case as a contract dispute—which it

 is not and no claims of the complaint allege breach of contract—is simply wrong. The JVA is

 attached to the complaint and a part thereof. The court can plainly see that the JVA does not

 grant TEG a license to any Max software.

        The JVA does not save TEG from its violations of its duties under the statute. The

 complaint adequately alleges claims for DTSA and IUTSA violations against TEG.

        C.     The Complaint Sufficiently and Plausibly States Claims for Copyright
        Infringement against TEG

        The elements of a copyright infringement claim are (1) ownership of a valid copyright,

 and (2) actionable copying by the defendant. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.

 340, 361 (1991); JCW Invs., Inc. v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir. 2007). TEG does

 not dispute the first element. Rather, it argues that Max’s “factual allegations in support of its

 copyright infringement claim are scant, conclusory, and difficult to discern.” (ECF 52 at 9). But

 the allegations are there in the complaint plain as day.

        These are just a few examples: Max alleged that “[i]n 2020 and 2021. . . TEG exceeded

                                                 14
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 19 of 31 PageID #: 469




 software licenses by providing ‘free’ extended trials.” (ECF 1 ¶ 121). “In mid-2021, MAX

 discovered at least a dozen trials that TEG had extended to customers without MAX’s

 authorization.” (ECF 1 ¶ 123). TEG provided unauthorized trials to customers by exceeding the

 scope of the two software licenses granted to TEG pursuant to the JVA. (ECF 1 ¶ 125). TEG

 made unauthorized copies and distributed those unauthorized copies of Haptic Federal to third

 parties for live events and live exercises for which TEG received compensation. (ECF 1 ¶ 126).

 TEG exceeded the scope of software licenses purchased from MAX by copying and distributing

 Haptic Federal numerous times without MAX’s authorization. (ECF 1 ¶ 127).

        TEG next argues that they were licensed to do what they did. “Under the plain terms of

 the JVA, TEG is authorized to distribute and sell the Software” and “that its authorization

 springs from TEG’s status as a joint owner of the Software.” (ECF 52 at 9-10). TEG’s assertion

 that it is a “joint owner of the Software” or that they are “authorized to distribute and sell the

 Software” is false. TEG has not sought a declaratory judgment from this or any court that it is a

 “joint owner” of any copyright in any of Max’s software, nor could it do so. The JVA does not

 support such a claim. There is nothing in the JVA that gives TEG copyright rights in Max’s

 software.

        TEG appears to be relying on the “Intellectual Property” paragraph in the JVA that says:

        Any Intellectual Property (“IP”) resulting from custom software development that
        is paid for by TEG will be co-owned by TEG and MAX, except any plug-in
        features paid for by the government that are contractual deliverables to the govt.
        customer.
 (ECF 1-9). This provision of the JVA could, in theory, become relevant if TEG paid for “custom

 software development,” and if that custom development created a new copyrightable work, and

 if that new copyrightable work was determined by the parties under the JVA to be a joint work.

 See 17 U.S.C. § 201(a) (“Copyright in a work protected under this title vests initially in the


                                                 15
                                              SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 20 of 31 PageID #: 470




 author or authors of the work. The authors of a joint work are co-owners of copyright in the

 work.”)

        TEG might also be relying on the statement in the JVA that “TEG is the exclusive

 distributor/reseller of the Haptic Federal product into the federal market.” But that statement

 alone is not a license. For copyright licenses to be valid they must meet specific requirements.

 For an exclusive license—which is considered the equivalent of a transfer of ownership—such a

 transfer must be made in writing. 17 U.S.C. § 204(a). Any transfer of copyright ownership that is

 not in writing is invalid. I.A.E., Inc. v. Shaver, 74 F.3d 768, 774-75 (7th Cir. 1996).

        The complaint does not allege that Max is suing TEG for infringement of software or

 source code that the parties co-developed. The complaint alleges that TEG infringed Max’s

 existing works that it owns copyright in alone. The complaint does not allege infringement of

 some unknown work to be developed in the future. The complaint references and attaches four

 copyright registrations for different versions of the Haptic software that Max registered and only

 Max owns. Those are the works that TEG infringed by the acts alleged in the complaint, not

 some future potential work.

        TEG’s arguments that they were authorized to do what they did also betray a fundamental

 flaw: “a plaintiff is not required to prove that the defendant's copying was unauthorized in order

 to state a prima facie case of copyright infringement.” Muhammad-Ali v. Final Call, Inc., 832

 F.3d 755, 760 (7th Cir. 2016) (emphasis in original). TEG’s argument that they had a license or

 were authorized is an affirmative defense, not a pleading defect. Id. at 761 ("As Rule 8 indicates,

 ‘the existence of a license, exclusive or nonexclusive, creates an affirmative defense to a claim of

 copyright infringement.”) Simply stated, the complaint makes clear that TEG’s actions were all

 unlicensed.


                                                16
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 21 of 31 PageID #: 471




        Max is not alleging breach of contract either. The JVA is not a license. The JVA does not

 grant TEG a license to anything, including Max’s software. Furthermore, the complaint alleges

 TEG violated several licenses including the SCLA and the EULA. Those violations are

 infringement because even if TEG was a licensee of Max’s software—which it is not—TEG’s

 use of Max’s software beyond the scope of any license alleged in the complaint gives rise to a

 claim for copyright infringement against TEG. See Andy Warhol Found. for the Visual Arts, Inc.

 v. Goldsmith, 598 U.S. 508 (2023) (use of Lynn Goldsmith’s photograph of Prince exceeded the

 scope of the license to Warhol and therefore infringed copyright; fair use defense rejected).

        The fact is that TEG has no current, active license to any of Max’s software. None of

 TEG’s customers have any license to any of Max’s software either. All those licenses were

 terminated. Yet, as the complaint alleges, TEG and the individual defendants are still copying,

 distributing, and making derivative works of Max’s software and source code.

        D.     The Complaint Sufficiently and Plausibly States Claims for Circumvention
        against TEG in Violation of 17 U.S.C. § 1201.

        Max’s complaint alleges that TEG circumvented the licensing key technological

 measures in the Haptic software in order to make millions of dollars of undisclosed software

 sales of the Haptic software, sales of service for the Haptic software, or trials of the Haptic

 software. (ECF 1 ¶ 116). In each case of a sale, TEG required a license key to install Haptic, but

 MAX never provided license keys to TEG so to get around the licensing key requirement, TEG

 modified the Haptic source code by stripping out or modifying the licensing logic from the

 source code to circumvent the licensing key requirement. (ECF 1 ¶¶ 117-119). TEG also back-

 dated computers to circumvent MAX’s licensing policy for Haptic Federal. (ECF 1 ¶ 177).

        These allegations fit squarely into the requirements of the statute that reads “No person

 shall circumvent a technological measure that effectively controls access to a work protected

                                                17
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 22 of 31 PageID #: 472




 under this title.” 17 U.S.C. § 1201(a)(l)(A). These allegations also comply with the requirements

 of Chamberlain Group v. Skylink Technologies, Inc., 381 F.3d 1178 (Fed. Cir. 2004) which

 found that a plaintiff alleging a violation of § 1201(a) must prove the following:

        (1) ownership of a valid copyright on a work, (2) effectively controlled by a
        technological measure, which has been circumvented, (3) that third parties can
        now access (4) without authorization, in a manner that (5) infringes or facilitates
        infringing a right protected by the Copyright Act, because of a product that (6) the
        defendant either (I) designed or produced primarily for circumvention; (ii) made
        available despite only limited commercial significance other than circumvention;
        or (iii) marketed for use in circumvention of the controlling technological
        measure. A plaintiff incapable of establishing any one of elements (1) through (5)
        will have failed to prove a prima facie case. A plaintiff capable of proving
        elements (1) through (5) need prove only one of (6)(I), (ii), or (iii) to shift the
        burden back to the defendant. At that point, the various affirmative defenses
        enumerated throughout § 1201 become relevant.
 Chamberlain, 381 F.3d at 1203.

        Yet TEG maintains that “[f]atally missing from Max’s circumvention allegations are

 facts sufficient to draw a reasonable inference that TEG’s alleged circumvention—the removal

 of the license key—constitutes copyright infringement or facilitates copyright infringement.”

 (ECF 52 at 15). But the infringement is right there in black and white: TEG circumvented the

 licensing key technological measures in the Haptic software in order to make millions of dollars

 of undisclosed software sales of the Haptic software, sales of service for the Haptic software, or

 trials of the Haptic software.

        The exclusive rights in the copyright author include the rights “(1) to reproduce the

 copyrighted work in copies or phonorecords; (2) to prepare derivative works based upon the

 copyrighted work; (3) to distribute copies or phonorecords of the copyrighted work to the public

 by sale or other transfer of ownership, or by rental, lease, or lending.” 17 U.S.C. § 106. When

 TEG circumvented the licensing key technological measures in the Haptic software it did so in

 order to copy and distribute Max’s copyrighted Haptic software in violation of Max’s exclusive


                                               18
                                            SRIPLAW
             CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 23 of 31 PageID #: 473




 rights. When TEG modified the Haptic source code by stripping out or modifying the licensing

 logic from the source code to circumvent the licensing key requirement, TEG created a

 derivative work of Max’s software and then copied and distributed the modified software in

 violation of Max’s exclusive rights under copyright.

        TEG next argues that “TEG is not facilitating copyright infringement. The only third

 parties accessing the Software are TEG’s Government customers, who are licensed customers

 under the terms of the JVA.” (ECF 52 at 15). As noted above, the JVA does not grant TEG a

 license to anything. In fact, the subsequently executed EULAs and SCLA all prohibit TEG from

 doing what they did to circumvent and prohibit TEG from distributing Max’s software to

 anyone. Moreover, the source code for the software was only licensed pursuant to SCLA which

 limited use the use of the source code to TEG’s internal business purposes. Modifying the source

 code to remove the licensing logic and distributing modified versions of the source code

 exceeded the scope of the SCLA and undeniably was copyright infringement.

        TEG’s argument also defies logic and common sense. If Max had truly licensed the

 Haptic software to TEG as TEG claims in order to allow TEG to distribute the software to

 “TEG’s Government customers,” then why would TEG have needed to circumvent the licensing

 keys in the software in order to facilitate the distribution of the software. If TEG was an

 authorized distributor to any government customer—which they emphatically were not—then

 TEG would have been provided with the license keys to the software so that they could license

 or sublicense the software legally and correctly, not surreptitiously by hacking the source code to

 remove licensing key logic or backdating computers to defeat the licensing key’s normal

 operation.




                                                19
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 24 of 31 PageID #: 474




        E.      The Complaint Sufficiently and Plausibly States Claims for Removal or
        Falsification of Copyright Management information against TEG in Violation of 17
        U.S.C. § 1202.

        The complaint alleges that TEG removed the Haptic CMI from the Haptic Federal

 software and replaced the Haptic CMI with false CMI indicating that the software was TEG’s

 software by using the terms “VJOC” and “C4MAP.” TEG removed Max’s name HAPTIC and

 renamed the software C4MAP or C4MAP (VJOC) or VJOC in order to deceive the DOD into

 believing that the software belongs to TEG. The complaint alleges that the defendants committed

 these acts knowing that they did not have the authority of Max, knowing that the CMI was false

 and knowing or having reasonable grounds to know that they will induce, enable, facilitate or

 conceal infringement of the MAX’s rights in the Haptic Federal Source Code protected under the

 Copyright Act. (ECF 1 ¶¶ 184-186).

        These allegations adequately state claims for the removal of CMI under §1202(b)(1) and

 the distribution of copies of works with the CMI removed under §1202(b)(3). Design Basics v.

 Van Prooyen Builders, Inc., No. 2:19CV100-PPS/SLC, 2021 U.S. Dist. LEXIS 41425, at *7-8

 (N.D. Ind. Mar. 5, 2021)(“accepting the truth of Design Basics' allegations and drawing all

 inferences in the light most favorable to it, the complaint states facially plausible claims for relief

 under the DMCA.”) A broad reading of the requirements of the statute at the pleading stage is

 the appropriate standard of review for these claims. Propertythree Tech. Grp. v. Apartment

 Hunters, No. 1:07-cv-356-RLY-JMS, 2008 U.S. Dist. LEXIS 136027, at *19-20 (S.D. Ind. May

 19, 2008) (“how Plaintiff inserted its copyright information onto its online forms or how

 Defendants allegedly removed such information” is not necessary detail to satisfy federal notice

 pleading standards for claims under § 1202 at the motion to dismiss stage).

        Sadowski is not required to prove his case in his pleading; he must only allege a
        plausible claim for relief. Sadowski alleges some critical facts "on information
        and belief," but that form of pleading is appropriate for matters within the
                                                 20
                                              SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 25 of 31 PageID #: 475




           purview of the defendant, such as defendant's knowledge or intent. Of course, at
           some point, Sadowski will need to adduce evidence to support his allegations, and
           he should not maintain his DMCA claim after he realizes that he has no support
           for it.
 Sadowski v. Miss. Valley Broads., LLC, No. 18-cv-946-jdp, 2019 U.S. Dist. LEXIS 37920, at *3-

 4 (W.D. Wis. Jan. 11, 2019). See also, Roth v. Walsh Co., No. 18-CV-1431, 2019 U.S. Dist.

 LEXIS 11439, at *9 (E.D. Wis. Jan. 24, 2019).

           The complaint adequately pleads the requirements of § 1202. The motion should be

 denied.

           F.     The Complaint Sufficiently and Plausibly States a Claim for Reverse Passing
           Off against TEG in violation of 15 U.S.C. § 1125(a)

           The complaint alleges that the “Haptic” mark is a trademark of MAX for software that is

 inherently distinctive or suggestive, and that the defendants removed the Haptic mark on the

 Haptic Federal software and replaced it with C4MAP and JVOC when the software was

 displayed, advertised, and marketed to TEG’s clients in violation of 15 U.S.C. § 1125(a). (ECF 1

 ¶¶ 132-144).

           “This section of the Lanham Act requires that customers likely be, in other words, tricked

 into thinking that products are affiliated with or approved by another party.” Diamond Sawblades

 Mfrs. Coal. v. Diamond Tools Tech., 504 F. Supp. 3d 927, 942 (S.D. Ind. 2020). Max’s

 complaint is simple: the HAPTIC trademark and software belongs to Max. TEG removed the

 HAPTIC trademark and rebranded Max’s software with TEG’s marks “VJOC” and “C4MAP” to

 deceive TEG’s customers into believing that TEG created the software which it did not. Calling

 the software “VJOC” and “C4MAP” is false and misleading and likely to cause confusion among

 customers who are interested in purchasing the software and are confronted with the same

 software being marketed by Max as HAPTIC and by TEG as “VJOC” and “C4MAP.” Which is

 the real product? Consumers will not know because TEG created the confusion by rebranding the

                                                 21
                                              SRIPLAW
               CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 26 of 31 PageID #: 476




 software and calling it something other than HAPTIC which is the name the software goes by in

 the federal market for software.

        Max’s trademark claim is not foreclosed by Dastar Corp. v. Twentieth Century Fox Film

 Corp., 539 U.S. 23 (2003). That case held that "origin of goods," as used in § 1125(a) did not

 connote the person or entity which originated the ideas contained in the video, and instead

 referred only to the producer's tangible video product. In other words, “the law of trademark

 cannot be invoked to assert what in fact is really a claim of copyright infringement.” Phoenix

 Entm't, LLC v. Rumsey, 829 F.3d 817, 826 (7th Cir. 2016).

        The decision in M. Arthur Gensler Jr. & Assocs. v. Strabala, 764 F.3d 735 (7th Cir.

 2014), a dispute between architects, is instructive. One architect accused the other of violating §

 1125(a) by making a false or misleading representation of fact concerning the architect’s role in

 designing five buildings that was likely to deceive as to the connection or association of the

 defendant architect with the plaintiff, and to deceive clients about the origin of the defendant

 architect’s designs. The Seventh Circuit held that “[n]othing in Dastar forecloses such a claim.”

 Id., 764 F.3d at 737, citing Societe des Hotels Meridien v. LaSalle Hotel Operating Partnership,

 LP, 380 F.3d 126 (2d Cir. 2004). The court also observed that “a false claim of authorship,

 without the making of copies (or some other act covered by 17 U.S.C. §106), is outside the scope

 of copyright law.2 Gensler's only plausible federal claim rests on §43(a).” Id.




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   Judge Easterbrook appears to have overlooked that a false claim of copyright authorship with
 the necessary scienter can be a violation of 17 U.S.C. § 1202 as plaintiff alleges in the complaint
 here.
                                                  22
                                             SRIPLAW
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 27 of 31 PageID #: 477




        G.     The John Doe Defendants are TEG Employees Who Have Not Been
        Identified and Who Are Individually Liable for Infringement of Max’s Intellectual
        Property Rights and When they are Identified they Will be Named and Served

        In the Seventh Circuit, plaintiffs are entitled to conduct discovery to identify John Doe

 defendants. See Rodriguez v. Plymouth Ambulance Service, 577 F.3d 816, 821 (7th Cir. 2009)

 (permitting pro se plaintiff whose complaint contained specific allegations describing the

 conduct of unknown prison officers to conduct discovery to ascertain the identity of the

 defendants). Plaintiffs in intellectual property cases have similarly been permitted this latitude to

 conduct discovery to identify John Doe defendants who committed infringement. See Arista

 Records Ltd. Liab. Co. v. Doe, 604 F.3d 110 (2d Cir. 2010) (where the “identification of alleged

 infringers was indispensable for the vindication of the plaintiffs' copyright rights” the plaintiff

 was allowed discovery to identify the individuals to enforce the plaintiff’s rights against those

 individuals).

        The infringement of intellectual property rights is considered an intentional tort.

 Precision Universal Joint Corp. v. Republic Gear Co., No. 75 C 2942, 1976 U.S. Dist. LEXIS

 15452, at *6 (N.D. Ill. Apr. 22, 1976). “Copyright infringement is unquestionably a tort…” Leo

 Feist v. Young, 138 F.2d 972, 975, 59 USPQ 450, 453 (7th Cir. 1943)). Intentional torts create

 personal liability for the individuals who commit them. Haggerty Enterprises, Inc. v. Lipan

 Indus. Co., No. 00 C 766, 2001 WL 968592, at *2 (N.D. Ill. Aug. 23, 2001); Euromarket

 Designs, Inc. v. Crate & Barrel Ltd., 96 F. Supp. 2d 824, 835 (N.D. Ill. 2000).

        A corporate officer is personally liable for the torts in which she has participated or

 which she has authorized or directed. Med. Informatics Eng'g, Inc. v. Orthopaedics Ne., P.C.,

 458 F. Supp. 2d 716, 729-30 (N.D. Ind. 2006). Moreover, an individual—even if acting on

 behalf of a corporation—is personally liable for infringement if they (1) act willfully and

 knowingly, (2) personally participate in the infringing activities, or (3) use the corporation to
                                                 23
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 28 of 31 PageID #: 478




 carry out their own deliberate infringement. Dangler v. Imperial Mach. Co., 11 F.2d 945, 947

 (7th Cir. 1926) (personal liability attaches in situations where the officer uses the corporation as

 an instrument to avoid personal liability or knowingly uses a corporation for the purpose of

 avoiding responsibility for the damages resulting from infringement).

        Here the complaint alleges that “John Does 1-10 are employees of TEG whose true

 names and identities are not yet known but who will be identified in discovery in this case.”

 (ECF 1 ¶ 18). The counts for trade secret misappropriation each allege that “Defendants

 ROBERT CLARE, JEFFREY MASE, and KEVIN MULLICAN personally disclosed and/or

 caused, directed and authorized employees of TEG to disclose MAX’s trade secret Haptic

 Federal Source Code without permission or authority of MAX.” (ECF 1 ¶¶151, 161). The count

 for copyright infringement alleges that “Defendants ROBERT CLARE, JEFFREY MASE, and

 KEVIN MULLICAN caused, directed and authorized employees of TEG to copy, distribute or

 make derivative works of the Haptic Federal source code without permission or authority of

 MAX.” (ECF 1 ¶¶ 172). The Count for circumvention alleges that “Defendants ROBERT

 CLARE, JEFFREY MASE, and KEVIN MULLICAN caused, directed and authorized

 employees of TEG to circumvent MAX’s technological measures without permission or authority

 of MAX.” (ECF 1 ¶ 179). The count for violation of 17 U.S.C. § 1202 alleges that “Defendants

 ROBERT CLARE, JEFFREY MASE, and KEVIN MULLICAN caused, directed and

 authorized employees of TEG to distribute copyright management information without

 permission or authority of MAX.” (ECF 1 ¶¶ 185). The count for reverse passing off alleges that

 “Defendants ROBERT CLARE, JEFFREY MASE, and KEVIN MULLICAN caused, directed

 and authorized employees of TEG to remove the Haptic mark without permission or authority of

 MAX.” (ECF 1 ¶¶ 196).


                                                24
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 29 of 31 PageID #: 479




         Plaintiff is entitled to identify the John Doe defendants and then name them personally

 for the infringement they committed. That is a proper purpose and their designation in the

 complaint should remain so that after an initial period of discovery they can be identified and

 named as defendants.

         H.    Neither Rule 13 nor the JVA Provide a Basis to Stay these Proceedings
         Against TEG for Violations of Max’s Intellectual Property Rights

         It has already been extensively argued that the JVA gives TEG no intellectual property

 rights whatsoever. Since the JVA gives TEG no IP rights, the JVA cannot be an impediment to

 this case proceeding. To stay this case because the JVA provided TEG with some expectation

 that it could have rights in the future would vitiate those rights altogether. Why have a Copyright

 Act, a Trade Secret Act, or a Trademark Act if the vague and brief language of a “joint venture

 agreement” could make those rights disappear at the mere request of TEG? The notion appears to

 do violence to the idea that intellectual property is protectable at all. Surely that is not true nor

 can it serve as a basis to stay a sufficient complaint that satisfies all the statutory requirements

 from proceeding.

         The two cases here do not contain “identical facts, law, and evidence” as the claims in

 Hostway Corp. v. JPMorgan Chase Bank, that Defendant cites. 2009 U.S. Dist. LEXIS 75049, at

 *8 (N.D. Ill. Aug. 24, 2009). The parallel litigation in that case involved two separately filed

 cases in two different courts (Southern District of New York and Northern District of Illinois)

 both involving breach of the exact same agreement. Id.

         Here, the two cases are different. This case involves claims under federal law for

 infringement of intellectual property rights. The other solely relates to breach of contract, an

 issue of state law. These cases are also in the same United States District Court and plaintiff gave

 notice that the cases were related.

                                                  25
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Case 1:24-cv-00779-JPH-MG Document 57 Filed 07/26/24 Page 30 of 31 PageID #: 480




        Staying the instant proceeding (including the motion for preliminary injunction) would

 allow TEG to continue its illegal activities selling, modifying and distributing Max’s software

 without its consent.



                                      IV.    CONCLUSION

        WHEREFORE, Plaintiff MAX MINDS, LLC respectfully requests that the Motion to

 Dismiss be Denied in its entirety.

 Dated: July 26, 2024                         Respectfully submitted,


                                              /s/ J. Campbell Miller
                                              J. CAMPBELL MILLER
                                              Bar Number: 38279-49
                                              campbell.miller@sriplaw.com

                                              SRIPLAW, P. A.
                                              231 South Rangeline Road
                                              Suite H
                                              Carmel, Indiana 46032
                                              332.600.5599 – Telephone
                                              561.404.4353 – Facsimile

                                              -and-

                                              JOSEPH A. DUNNE (Pro Hac Vice)
                                              joseph.dunne@sriplaw.com

                                              SRIPLAW, P. A.
                                              175 Pearl Street
                                              Third Floor
                                              Brooklyn, Indiana 11201
                                              929.200.8446 – Telephone
                                              561.404.4353 – Facsimile

                                              -and-

                                              JOEL B. ROTHMAN (Pro Hac Vice)
                                              joel.rothman@sriplaw.com


                                               26
                                            SRIPLAW
             CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ TEXAS ◆ NEW YORK
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                                          SRIPLAW, P. A.
                                          21301 Powerline Road
                                          Suite 100
                                          Boca Raton, Indiana 33433
                                          561.404.4335 – Telephone
                                          561.404.4353 – Facsimile

                                          -and-

                                          PHILIP D SEVER
                                          Bar Number: 25384-49
                                          phil@landownerattorneys.com

                                          SEVER, STORY, WALKER
                                          742 South Rangeline Road
                                          Carmel, IN 46032
                                          317 9611202 - Telephone

                                          Counsel for Plaintiff Max Minds, LLC




                                           27
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